






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00077-CV






J. Stephen Spencer and Kippling L. Spencer, Appellants


v.


Noel Douglas Vaughn, Catherine Gay Vaughn and Scott Alan Yeats, Appellees






FROM THE DISTRICT COURT OF HAYS COUNTY, 274TH JUDICIAL DISTRICT

NO. 2003-0161, HONORABLE DON B. MORGAN, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellants J. Stephen Spencer and Kippling L. Spencer appeal from the trial court's
orders, entered after a jury trial, granting appellees Noel Douglas Vaughn and
Catherine&nbsp;Gay&nbsp;Vaughn, Kippling Spencer's parents, access to their grandchildren M.N.Y. and S.N.S. 
They argue that the grandparent visitation statute then in effect is unconstitutional on its face and as
applied to them.  They further argue that it was an abuse of discretion to modify M.N.Y.'s
conservatorship and to award $100,000 in attorney's fees.  We affirm the trial court's orders.  


Factual and procedural background

	M.N.Y. was born in December 1994, and S.N.S. was born in August 1997. 
Mrs.&nbsp;Spencer is the mother of both children.  Appellee Scott Alan Yeats is M.N.Y.'s biological
father.  Mr. Yeats and Mrs. Spencer were divorced in early 1996, and Mrs. Spencer was appointed
sole managing conservator of M.N.Y., while Mr. Yeats was named possessory conservator and given
weekend and summer visitation consistent with the family code.  See Tex. Fam. Code Ann.
§§&nbsp;153.312 (West Supp. 2007), .313 (West 2002).  After the divorce, Mrs. Spencer and M.N.Y. lived
with the Vaughns for a while before she married Mr. Spencer in July 1996.  Mr. Spencer is S.N.S.'s
biological father and M.N.Y.'s stepfather.

	Relations between the Vaughns and their daughter soured after her marriage to
Mr.&nbsp;Spencer, and in 1998, the Vaughns sued for grandparent access under former sections 153.432
and 153.433 of the family code.  See Act of May 27, 2005, 79th Leg., R.S., ch. 484, §§ 3, 4,
2005&nbsp;Tex. Gen. Laws 1345, 1345-46 (amending sections 153.432 and 153.433; current versions at
Tex. Fam. Code Ann. §§ 153.432, .433 (West Supp. 2007)). (1)  The Spencers and the Vaughns settled
their dispute, and on August 20, 1998, the trial court signed an order agreed to by the Spencers, the
Vaughns, and Mr. Yeats.  Under the agreed order,  the Vaughns were given access to the children
as follows: for the first six months, the Vaughns were granted one full day of visitation with M.N.Y.
each month, the first three hours of which were to occur in the Spencers' home and were to overlap
with the Vaughns' visitation with S.N.S., with whom they also had another half-day of separate and
in-home visitation later in the month.  After six months, the Vaughns were to have one full day with
both children once a month and two forty-eight-hour periods each year with thirty days' notice to the
Spencers, provided that the two-day visits did not conflict with the Spencers' plans or Mr. Yeats's
visitation with M.N.Y.  If the Vaughns' proposed forty-eight hours conflicted with existing plans,
the Spencers were to notify the Vaughns within five days and seek a substitute period.  The Vaughns
were to reimburse the Spencers $211 in court costs and were ordered to "allow" the Spencers to
retrieve a television set, two bicycles, and any other property that was in the Vaughns' possession. 
The parties agreed to enter into a confidentiality agreement and to notify each other sixty days before
any intended change of address or, if such notice was impossible, soon after learning of the change. (2) 
At the time the order was signed, the Spencers, the Vaughns, and Mr. Yeats all lived in Texas.  At
the time of trial, the Spencers lived in Dripping Springs, the Vaughns lived in Corpus Christi, and
Mr. Yeats had remarried and lived in League City.

	Very soon after signing the agreed visitation order, the Spencers moved to Utah
without informing the Vaughns, who learned of the move when they arrived for their first visitation
under the order.  Mrs. Vaughn testified that the Spencers did not provide a mailing address until
October 26, 1998, when Mr. Spencer provided a post office box address in Roy, Utah.  The Spencers
did not provide a phone number or physical address, and the Vaughns tried unsuccessfully to find
a phone number for the Spencers in Roy.  In July 1999, Mr. Spencer informed the Vaughns that "our
family's physical address is:  203 North 1600 West," but did not provide a city, state, or zip code. 
A letter sent to that address in Roy was returned, stamped, "No such address."  In affidavits signed
in March 2003, the Spencers stated that their physical address had been in West Point, Utah.

	Mr. Yeats testified that on August 27, 1998, one week after the trial court signed the
agreed order, the Spencers informed him that they were moving to Utah in three days.  Mr. Yeats
visited M.N.Y. in Utah in September and testified that the Spencers threatened several times to move
and not tell him where they lived if he told anyone their address.  Mr. Spencer told Mr. Yeats that
they had moved to Utah to get away from the Vaughns. 

	Mr. Spencer wrote the Vaughns several letters in 1998 and 1999 complaining that the
Vaughns had not returned the Spencers' property and were obligated to ship the property to the
Spencers in Utah, had failed to pay $211 in court costs, (3) and had breached the confidentiality
agreement.  Mrs. Vaughn testified that the agreed order required the Vaughns to allow the Spencers
to pick up their property, but that the Spencers never did so and that the items were still in the
Vaughns' possession.  In May 1999, Mr. Spencer wrote again, stating that because the Vaughns had
not paid the court costs or shipped the Spencers' property, they were barred from contacting, visiting,
or "attempt[ing] to carry on a relationship" with the children.

	In early August 1999, the Vaughns sent the Spencers a letter providing thirty days'
notice that they intended to exercise their visitation rights by coming to Utah for a weekend in
September 1999.  This letter was sent by certified and regular mail to the Spencers' post office
box&nbsp;in Roy, Utah, and the certified letter was returned to the Vaughns as unclaimed. 
On&nbsp;August&nbsp;27,&nbsp;1999, Mr. Spencer wrote the Vaughns, stating that the Spencers had not received the
Vaughns' letter until August 27 because the Spencers had been out of town.  Mr. Spencer said they
had other plans for the weekend proposed by the Vaughns but did not propose alternative dates. 
Mr.&nbsp;Spencer also said that because the Vaughns had not complied with the agreed order's visitation
schedule for the first six months following its issuance, the Vaughns were "not entitled to
see"&nbsp;the&nbsp;children.

	The Spencers returned to Texas in late 1999 or early 2000, but the Vaughns did not
learn of the Spencers' new address until several years later.  Mr. Yeats testified that although he
knew the Spencers had moved back to Texas, they did not provide him with a new physical address
until late 2002.  Mr. Yeats thought the Vaughns learned that the Spencers had returned to Texas
when the Spencers sued Mr. Yeats for increased child support in early January 2003.  In
January&nbsp;2003, the Vaughns wrote the Spencers that they intended to begin weekend visitation in
accordance with the agreed order in February but stated that if the planned weekend was
inconvenient, they would come another Saturday.  The Spencers apparently informed the Vaughns
that the proposed date conflicted with M.N.Y.'s plans, and in mid-February 2003, the Vaughns
wrote&nbsp;again, pointing out that the Spencers had not provided an alternative date for visitation and
saying that they would visit S.N.S. alone in February and would visit both girls on March 8. 
The&nbsp;Vaughns stated that they were not required to give notice before exercising their day visitations
and that they&nbsp;intended to visit the girls every second Saturday as provided in the agreed order. 
Mrs.&nbsp;Spencer&nbsp;replied that the Vaughns had provided "deficient" notice of their planned visit
and&nbsp;that&nbsp;the March date conflicted with Mr. Yeats's visitation.  Therefore, she concluded, the
visitations&nbsp;were&nbsp;"excluded."

	In March 2003, the Spencers filed a petition seeking to modify and vacate the agreed
order, alleging that the Vaughns were harassing them and demanding access to the children in
violation of the order and had violated provisions related to confidentiality and Mrs. Vaughn's
mother.  The Vaughns filed a motion for contempt, and the Spencers responded with a motion for
contempt against the Vaughns.  The Vaughns also sued for interference with their possessory rights
to the children.  Meanwhile, Mr. Yeats filed a petition seeking to be named M.N.Y.'s sole managing
conservator and suing for interference with his possessory interest, asking to consolidate all the
motions to modify.  Mr. Yeats and Mrs. Spencer eventually agreed that they should be named joint
managing conservators of M.N.Y., but disagreed about M.N.Y.'s primary place of residence.  

	At trial, Mrs. Vaughn testified that she and her husband never saw the children from
the date of the agreed order in late August 1998 until June 2003.  Mrs. Vaughn testified that it was
in the children's best interests for her and Mr. Vaughn to have visitation so the girls could build
relationships with their grandparents and their extended family.  She  testified that she and her
husband had paid their current attorney about $43,000 and that they still owed about $40,000 for fees
incurred leading up to the trial.

	Sandra Perrenot, Mrs. Vaughn's sister and Mrs. Spencer's aunt, testified that her
grandchildren spent a good deal of time at the Vaughns' house and that the Vaughns were very good
with the children.  She thought it was in M.N.Y.'s and S.N.S.'s best interest to have contact with
their grandparents because the Vaughns can "teach them so much" and "show them so much
different kind of love a parent can't show them."  She did not think it was in M.N.Y.'s best interest
to stay with the Spencers and testified that shortly after S.N.S.'s birth in 1997, Mr. Spencer showed
her a framed and "frontal nude" photograph of three-year-old M.N.Y., "standing there stark naked." 
Mrs. Perrenot said she was "appalled" but did nothing because she "didn't know what to say."

	Stacey Gurleski, Mrs. Vaughn's niece and the Vaughns' next-door neighbor, testified
that her daughter, who is the same age as S.N.S., loved the Vaughns, and that she allowed her
daughter to walk to the Vaughns' house "all the time."  She said the Vaughns are "very loving and
nurturing and supportive people" and could not imagine her daughter "not having them in her life." 
She testified that when she went through chemotherapy while her husband was traveling, her
daughter spent most of her time with the Vaughns.  Mrs. Gurleski was very close to Mrs. Spencer
growing up, but since the Spencers married, she has had almost no contact with Mrs. Spencer.

	Mr. Yeats testified about difficulties he had with the Spencers related to visitation and
M.N.Y.'s health insurance.  He testified that in the summer of 2002, he agreed to delay the beginning
of his forty-day summer visitation with M.N.Y. because the Spencers said they were taking the girls
to Disney World.  However, the Spencers postponed the trip without telling Mr. Yeats and later tried
to delay his visit further because they wanted to take the girls to New Mexico.  Mr. Yeats objected
and insisted on having M.N.Y. for the remaining seven days of visitation, and he said that it was at
that point that things got "really nasty."  Mr. Yeats also testified that the Spencers sometimes told
M.N.Y. that he was supposed to pick her up earlier than had been arranged in order to make her think
he was late.  On several occasions, he told the Spencers about plans he had made to take M.N.Y. to
sporting events or concerts, only to have the Spencers tell him there was a conflict just before the
event or to simply be away from home when he arrived to pick her up. 

	Mr. Yeats further testified that the Spencers never sent him copies he requested of
M.N.Y.'s report cards and that he believed many of the gifts he gave M.N.Y. had been given away
or returned.  Mr. Yeats testified that although M.N.Y.'s last name is Yeats, he has learned that the
Spencers taught M.N.Y. that her last name was Spencer "from the time when she was little" and used
Spencer as her last name on medical bills and school enrollment forms.  Mr. Yeats provided the
school with M.N.Y.'s birth certificate, and as a result, her last name has been corrected and he is
finally receiving her report cards from the school.  Mr. Yeats also discovered that the Spencers had
filed an affidavit with the school saying that it was against their religion for M.N.Y. to be
immunized.  The Spencers said they were afraid the shots would endanger M.N.Y. but never gave
Mr. Yeats the names of any doctors they had consulted or any medical reports.  He testified that he
was concerned when the Spencers did not arrange for M.N.Y. to get timely vaccinations, including
a tetanus shot; that there had been problems with M.N.Y. not getting proper dental care until he took
her to a dentist during a visitation; and that the Spencers allowed her to drink too much caffeinated
soda, which he believed interfered with her sleep.  He testified that M.N.Y. was tall for her age and
worried about her weight.  He believed he could help with her body image issues because he has
dealt with the same problems.

	Mr. Yeats testified that he had allowed the Spencers to play games with him for years
because M.N.Y. was unaware of the turmoil between her parents.  Now, however, "it's getting to
where it's affecting family life and . . . it's affecting her other ways that you can't even name."  He
said he was seeking to change M.N.Y.'s living arrangements because "I have to save my kid."  Mr.
Yeats testified that he was "very much in favor" of allowing the Vaughns to have contact with
M.N.Y., saying he believed that it was "crucial" for her to have a relationship with the Vaughns and
her extended family.  He testified that the Vaughn family was very close and supportive and that he
did not believe the visitation should be terminated, saying, "[I]f anything, they should get more
visitation than they already ordered."

	Social worker Carol Robison testified about a home study she prepared for this case
in 2004, and the Vaughns introduced her report into evidence.  Ms. Robison stated in her report that
Mr. Yeats and the Vaughns were cooperative, provided the information she requested, and seemed
to "truly have the 'best interest' of the children at heart."  The Spencers, however, did not provide
information until ordered to do so and, although they "wished to portray themselves as being the only
ones . . . that wished to fully cooperate with the Court and this investigator, they were indeed the
only ones that did not want to provide information requested."  In one instance, the Spencers told
Ms. Robison that they had mailed certain forms and documents months before they were ordered to
provide the information, but Ms. Robison noted that the forms provided by the Spencers upon a court
order were originals, saying, "The couple stated that they were copies, but they are not photocopied
documents and are originals filled out in ink.  The information contained in them, such as ages,
would also indicate that they were not completed in the spring and mailed, as the couple has so
alleged."  Ms.&nbsp;Robison also testified that Mr. Spencer was reluctant to provide documentation about
his military career and told Ms. Robison that his military records were sealed and that she "was not
to release that to anyone," making that a condition of providing her the records.  Ms. Robison
observed in her report, however, that none of the documents he provided indicated that the
records&nbsp;were&nbsp;sealed.

	Ms. Robison said that the children were in good physical health but that M.N.Y. was
very sensitive, appeared to be "under a great deal of stress and pressure," had been inappropriately
informed of and involved in the legal proceedings, and was depressed as a result of her knowledge
of the case.  Ms. Robison believed the Spencers have involved M.N.Y. in their battles with
Mr.&nbsp;Yeats and the Vaughns and reported, "It is strongly felt that Mr. Spencer has been greatly
responsible for the decline in the relationships between [Mrs. Spencer] and her parents as well as
between [Mrs. Spencer] and [Mr. Yeats]. . . . It is apparent that [Mr. Spencer] has total disregard for
the Yeats and the Vaughns and it is perceived that [M.N.Y.] has been influenced by her step-father's
attitude toward them."  Mrs. Spencer discussed allegations about Mr. Spencer bathing with the girls
and told Ms. Robison that Child Protective Services had instructed the Spencers not to bathe with
the girls.  Although Ms. Robison had not seen the nude photograph of M.N.Y., she testified that
Mrs.&nbsp;Perrenot's description made the photo sound "very inappropriate" and raised a "red flag." 

	Ms. Robison testified that M.N.Y. and S.N.S. are very close and that she thought it
was in their best interest to stay together.  If splitting the children was not an issue, however,
Ms.&nbsp;Robison testified that she would recommend that M.N.Y. live with her father.  She said the
Vaughns are "very kind, gracious, obviously have a deep concern for the welfare of their
grandchildren" and she felt "strongly" that the children should have visitation with the Vaughns and
their extended family at the Vaughns' home.

	Mr. Spencer testified that he has not allowed the Vaughns to see the girls because
"Mrs. Vaughn is so violently opposed to my marriage to Kippling she's been a horrible influence on
the girls when they have been around them."  He testified that the Vaughns had been very controlling
of Mrs. Spencer before the Spencers' marriage and that they sued for visitation because the Spencers
decided to move away from the Vaughns.  He said he did not control his wife and never asked her
to choose between him and her family.

	Mr. Spencer disputed Mrs. Perrenot's testimony about the picture of M.N.Y., calling
Mrs. Perrenot a "liar."  He testified that the photo was unframed and had been taken when M.N.Y.
was a toddler and had a "soap bucket, or sand bucket, or something in front of her."  He said that he
did not show it to Mrs. Perrenot and that she heard about it from someone else.  Mr. Spencer also
testified that he had bathed with the girls but that it "was a long time ago when they were little."  He
said that M.N.Y.'s legal name is Yeats but that she had gone by Spencer for years, saying, "I'm just
not going to argue with that, if she wants to use my name, I'm proud to have her do it."   

	Mr. Spencer testified that he left the Air Force in the early 1990s after he and several
co-workers were wrongfully accused of sexually molesting a child.  He was initially given a general
discharge with honorable conditions, but prevailed in a contest, resulting in a full honorable
discharge and a confidential settlement.  He denied extracting any promises from Ms. Robison before
providing his military records, saying he only asked if her file would be confidential.

	Mr. Spencer also testified about a felony insurance fraud charge brought against him
in Utah to which he pled no-contest.  He explained that after Mrs. Spencer was involved in a serious
car accident, he filed an insurance claim seeking $37,000 for a diamond that he said was dislodged
from her wedding ring.  Mr. Spencer testified that the insurance company decided to fight the claim,
and that because he "did not have the wherewithal financially, emotionally, physically" to fight back,
he pled no-contest to the fraud charge.  In Mr. Spencer's plea documents, he said:

The states [sic] evidence would support that I submitted a false claim . . . claiming
that a 2.2.-carat diamond from my wife's wedding ring was dislodged and lost during
a motor vehicle accident.  The states [sic] evidence would show the diamond had not
dislodged and infact [sic] was intact.  I claimed that the worth of the diamond was
over $37,000.00.  That the states [sic] evidence would show that I made
misrepresentations and misleading statements during the claim process.


	Mrs. Spencer was asked when she and her family returned from Utah, and she
testified that starting in 1999, they had homes in both states, that they "weren't completely back here
in '99," and that they moved here "[o]fficially with furniture, probably early 2000."  Mrs. Spencer
signed a contract to teach in Hays County beginning in August 1999, and testified that, although she
contracted to teach in the 1999-2000 school year, at the time she was in "intensive therapy" due to
her car accident and that she could not remember whether she worked in Hays County in 1999.  She
testified that she did not breach her contract, but she also testified that she "probably was not there
in August of 1999."  Later in her testimony, she said she was "commuting back and forth" between
Texas and Utah in 1999.  Still later, she said, "I was in and out at the beginning of the [1999-2000]
school year, and I started officially being there full time mid October till late--early November." 
Mrs. Spencer taught until 2002, when a dispute arose with the district; her departure was covered
by a confidentiality agreement with the school district. 

	Mrs. Spencer said she provided the school district with a baptismal certificate
showing M.N.Y.'s last name as "Spencer," not "Yeats," because she did not have a copy of M.N.Y.'s
birth certificate and so provided the baptismal certificate to enroll M.N.Y. in kindergarten. 
Similarly, Mrs. Spencer said she signed a false affidavit stating that it was against her family's
religion to vaccinate the children because she "didn't have [M.N.Y.'s] shot records at the time, and
it allowed her to be in kindergarten when she was supposed to be." 

	Mrs. Spencer testified about the photograph mentioned by Mrs. Perrenot, saying it
was not pornographic in nature but was the kind of picture "every parent has."  She also denied any
inappropriate behavior when Mr. Spencer bathed or took care of the girls and said that CPS came
to the house, interviewed the Spencers for several hours, and then "took no action."  

	Mrs. Spencer testified that M.N.Y. and S.N.S. were very close and that S.N.S. "hates"
when M.N.Y. has to leave to visit Mr. Yeats.  Mrs. Spencer did not believe it was in M.N.Y.'s best
interest to live with Mr. Yeats because she has lived in Dripping Springs for several years and has
a group of close friends there.  She said that she wanted M.N.Y. and Mr. Yeats to have a good
relationship and that she often reminded M.N.Y. to call Mr. Yeats.  She denied that Mr. Spencer
controlled her and said that visitation with the Vaughns was not in the children's best interest
because, "I'm the mother of those children.  I know what's best for them.  And if I don't feel that it's
good for them to be around people who are going to be negative about me and my husband, then I
don't want her around them."  She had no problems with the children's other grandparents.

	Dr. Allison Wilcox, a child psychologist, treated M.N.Y. from April 2004 through
August 2004.  Dr. Wilcox testified that M.N.Y. is very articulate and intelligent but also anxious and
depressed.  Dr. Wilcox said Mr. Yeats was upset when he learned M.N.Y. had been prescribed
antidepressants and felt that M.N.Y.'s sleep disturbances were instead due to too much caffeine and
sugar.  Mr. Yeats told Dr. Wilcox that he would try to bring M.N.Y. to Dripping Springs for therapy
during his summer visitation in League City but never did so.  Dr. Wilcox testified that M.N.Y. told
her that she loved her father but did not like visiting him in Houston because it was far away and
boring.  M.N.Y. worried that her mother would get in trouble or even be arrested if M.N.Y. did not
want to go to Houston to visit her father.  Dr. Wilcox testified that she thought the children should
stay together but made no recommendations related to the Vaughns.  

	The jury found:  it was in M.N.Y.'s and S.N.S.'s best interests to modify the agreed
order related to grandparent access; material and substantial change in the circumstances of a child,
conservator, or the Vaughns since the agreed order was signed in 1998;  it was in M.N.Y.'s best
interest for Mr. Yeats to designate her primary residence; material and substantial change in the
circumstances of Mrs. Spencer, Mr. Yeats, or M.N.Y. since the 1997 conservatorship order between
Mrs. Spencer and Mr. Yeats; both the Spencers concealed and aided or abetted in the concealment
of the girls from the Vaughns and from Mr. Yeats; the Vaughns were injured by the concealment of
the children; Mr. Yeats was injured by the concealment of M.N.Y.; and $1,000 would compensate
Mr. Yeats for the Spencers' concealment of M.N.Y.  The jury also recommended that M.N.Y. should
be informed that when she is twelve years old she can choose which parent to live with; the
Vaughns' access should not be reduced and they should have "longer duration visitations, perhaps
over the weekend, fewer times"; and the children should visit the Vaughns together, have "minimum
exposure" to the conflict between the parties, and receive counseling and therapy.

	The trial court signed a final order naming Mr. Yeats and Mrs. Spencer M.N.Y.'s
joint managing conservators; giving Mr. Yeats the right to determine M.N.Y.'s primary residence;
giving Mrs. Spencer visitation; finding that it was in M.N.Y.'s best interest to change her
conservatorship; granting the Vaughns "access, visitation and/or possession" of both children one
weekend every other month and one week each summer; and requiring the Spencers to find a
substitute period for the Vaughns' summer visitations if the Vaughns' proposed dates conflicted with
the Spencers' plans.  The court found that it was in the children's best interest to have visitation
together with the Vaughns, ordered the Spencers and Mr. Yeats not to interfere with the Vaughns'
visitation, ordered the parties not to talk to the children about the parties' conflicts, ordered that both
children receive counseling and therapy, and ordered the parties to notify each other and the court
promptly of any change of address or phone number.  Finally, the court ordered the Spencers to pay
$50,000 in attorney's fees to the Vaughns and $50,000 in attorney's fees to Mr. Yeats.  

	The trial court entered the following findings of fact and conclusions of law:  it was
in the children's best interest for the Vaughns to have access to and visitation with the children; the
testimony of Mr. and Mrs. Spencer was "not believable"; there was good cause to award Mr. Yeats
and the Vaughns $50,000 in attorney's fees as damages for the interference with their possessory
interests; the two attorney's fees awards were reasonable and necessary; and the Spencers each
willfully and contemptuously disobeyed the agreed order sixty times with relation to each child.  The
court assessed a total of $12,000 in fines against each of the Spencers and ordered Mr. Spencer
confined to jail for 1,200 days, suspending the sentences if the Spencers each paid $100, Mr. Spencer
spent ten days in jail, and the Spencers obeyed the order's provisions related to the Vaughns'
possession of and access to the children.  The trial court denied the Spencers' motion for judgment
notwithstanding the verdict and motions for new trial.

	On appeal, the Spencers contend that former section 153.433 is unconstitutional on
its face and as applied to them and that, even if the statute is constitutional, the trial court exceeded
its statutory authority by granting the Vaughns possession of the children, rather than mere access. 
They further argue that the trial court abused its discretion in giving Mr. Yeats the right to decide
M.N.Y.'s primary residence because there was insufficient evidence to show that the modification
was in M.N.Y.'s best interest.  Finally, the Spencers argue that the trial court abused its discretion
in awarding attorney's fees to Mr. Yeats and the Vaughns without competent expert testimony. 


Grandparent visitation

	The Spencers challenge the constitutionality of former section 153.433, both on its
face and as applied to them.  However, this appeal concerns not the original grandparent visitation
suit but instead the Spencers' motion to modify the agreed order.  The supreme court has established
that the presumptions in favor of parents set out in chapter 153 of the family code do not apply to
modification proceedings under chapter 156.  In re V.L.K., 24 S.W.3d 338, 343 (Tex. 2000); see also
In re M.N.G., 113 S.W.3d 27, 35-36 (Tex. App.--Fort Worth 2003, no pet.).  As the court explained,
"Chapter 153 and Chapter 156 are distinct statutory schemes that involve different issues." 
In&nbsp;re&nbsp;V.L.K., 24 S.W.3d at 343.  In an original suit under chapter 153, the parent "has the benefit of
the parental presumption," but "[b]ecause the Legislature did not express its intent to apply the
presumption in Chapter 156 modification suits, courts should not apply the presumption in those
cases."  Id.  Instead, modification proceedings should ask only whether the requirements of section
156.101 of the family code are met, "which requires the parties to show that (1) circumstances of a
party affected by the order have materially and substantially changed; and (2) modification would
be a positive improvement for the child."  Id.; see Tex. Fam. Code Ann. §&nbsp;156.101 (West Supp.
2007).  In this modification proceeding under chapter 156, therefore, chapter 153 presumptions in
favor of the Spencers do not apply.  See In re V.L.K., 24 S.W.3d at 343.  Further, the Spencers agreed
to the order granting the Vaughns' visitation and never challenged the order or the statute's
constitutionality until filing this motion to modify.  The trial court did not grant the Vaughns
visitation over the Spencers' objections by relying on former section 153.433.  The same policy
considerations underlying In re V.L.K. apply to motions to modify in grandparent visitation cases. (4) 
See id.; In re M.N.G., 113 S.W.3d at 33, 36.  Therefore, the Spencers are bound by In re V.L.K. and
the burdens of proof set out in chapter 156 rather than the chapter 153 presumptions and Troxel
v.&nbsp;Granville. (5)  See 530 U.S. 57, 66-67 (2000) (holding Washington grandparent-visitation statute is
unconstitutional).

	A trial court with continuing, exclusive jurisdiction may modify an order regarding 
conservatorship or the "possession of and access to" a child.  Tex. Fam. Code Ann. § 156.001
(West&nbsp;2002).  A court may modify such an order if the evidence shows (1)&nbsp;a material and substantial
change in the circumstances of the child or other party affected by the order and (2) that the change
would be in the child's best interest.  Id. § 156.101(1).  We review a trial court's modification order
for an abuse of discretion.  See, e.g., In re J.E.P., 49 S.W.3d 380, 386-87 (Tex. App.--Fort Worth
2000, no pet.); Maixner v. Maixner, 641 S.W.2d 374, 376 (Tex. App.--Dallas 1982, no writ). (6)  "The
trial court is in the best position to observe the demeanor and personalities of the witnesses and can
'feel' the forces, powers, and influences that cannot be discerned by merely reading the record," and
a trial court does not abuse its discretion if some substantive, probative evidence supports its
decision.  Echols v. Olivarez, 85 S.W.3d 475, 477 (Tex. App.--Austin 2002, no pet.) (citing
Jeffers&nbsp;v. Wallace, 615 S.W.2d 252, 253 (Tex. Civ. App.--Dallas 1981, no writ)) (considering
modification of terms governing joint managing conservatorship).  When applying an abuse-of-discretion standard to a trial court's modification of provisions related to possession and custody of
children, we ask first whether the trial court had sufficient information on which to exercise its
discretion, applying a traditional sufficiency review, and if so, whether it acted reasonably in the
application of its discretion.  Id. at 477-78.  The parties do not dispute that there was a change in
circumstances, and it was the Spencers who sought the modification.  The only question, therefore,
is whether the record supports a finding that it was in the children's best interest for the Vaughns to
have continued access to them through fewer but longer visits.

	The Spencers testified that the Vaughns disliked Mr. Spencer and acted
inappropriately and said negative things about him in front of the children.  Ms. Robison, however,
believed that it was the Spencers, not the Vaughns, who had shared details about the parties' dispute
with the children and that the Vaughns truly had the children's best interests in mind.  The other
witnesses, including Mr. Yeats, testified that it would be beneficial for the children to have visitation
with the Vaughns and their extended family.  The jury determined that it was in the children's best
interests to have contact with the Vaughns and recommended that the Vaughns have fewer but longer
visits.  The trial court, which had the opportunity to observe the witnesses, found that the Spencers
were not credible witnesses and that it was in the children's best interests to have visitation with the
Vaughns.  The trial court did not err in refusing to terminate the Vaughns' visitations. (7)  

	The Spencers further argue that the trial court erred in allowing the Vaughns to have
possession of the girls, rather than mere "access" to the girls.  We disagree. 

	We recognize the distinction between "possession" and "access," see In re L.M.M.,
No. 03-04-00452-CV, 2005 Tex. App. LEXIS 7191, at *34 (Tex. App.--Austin Aug. 31, 2005,
no&nbsp;pet.) (mem. op.) (access allows conservator to visit and communicate with child; possession
allows conservator to exercise control over child to exclusion of others), but note once more that this
is a modification proceeding, not an original grandparent access suit.  We differ with our sister court,
which in E.C., Jr., ex rel. Gonzales v. Graydon determined that former section 153.433 allowed
grandparent "access," not "possession."  28 S.W.3d 825, 831-32 (Tex. App.--Corpus Christi 2000,
no pet.).  In making that determination, the court looked to the same version of section 153.433 that
is applicable to this case, which provided that a trial court should "order reasonable access to a
grandchild" if certain requirements were met.  See Act of May 27, 2005, ch. 484, § 4, 2005
Tex.&nbsp;Gen.&nbsp;Laws at 1345.  The court did not note, however, that section 153.433 was titled,
"Possession of and Access to Grandchild."  See id. (emphasis added).  Further, Gonzales was
decided before 2005, when the legislature amended the statute to provide that a grandparent may
obtain "reasonable possession of or access to a grandchild."  Tex. Fam. Code Ann. § 153.433.  In
a bill analysis prepared in 2005 to explain the purpose and effect of the amendment, the Committee
on Juvenile Justice &amp; Family Issues stated that the amendment "make[s] consistent the language
throughout Subchapter H [governing rights of grandparents] that the suit is for possession of or
access to the child and not merely for access to the child, terminology which is currently
inconsistently applied." (8)  House Comm. on Juvenile Justice &amp; Family Issues, Bill Analysis, C.S.H.B.
261, 79th Leg., R.S. (2005).  Finally, in cases involving grandparent access under former section
153.433, grandparents were frequently granted possession rather than mere access.  See, e.g., In re
N.A.S., 100 S.W.3d 670, 671 (Tex. App.--Dallas 2003, no pet.); Sailor v. Phillips, No. 03-00-00725-CV, 2001 Tex. App. LEXIS 7492, *2-3 (Tex. App.--Austin Nov. 8, 2001, no pet.) (not designated
for publication); Goolsbee v. Heft, 549 S.W.2d 34, 34-35 (Tex. Civ. App.--Tyler 1977, no writ). (9) 
The court did not abuse its discretion in allowing the Vaughns possession of the girls.

	The Spencers further contend that the trial court improperly submitted to the jury
issues related to the Vaughns' visitation.  We disagree.  Section 105.002 governs jury trials in suits
affecting the parent-child relationship, including suits "to modify access rights," Martin v. Martin,
776 S.W.2d 572, 574 (Tex. 1989) (considering predecessor to section 105.002), and allows a party
to demand a jury trial in a suit affecting a parent-child relationship unless the suit seeks adoption or
to adjudicate parentage.  See Tex. Fam. Code Ann. § 105.002(a), (b) (West Supp. 2007).  In
February&nbsp;2003, at the time the Spencers filed their petition for modification, subsection 105.002(c)
provided that a party was entitled to a jury verdict on issues related to conservatorship and the
determination of a child's primary residence.  See Act of May 27, 2003, 78th Leg., R.S., ch. 1036,
§ 2, 2003 Tex. Gen. Laws 2987, 2987-88 (amending section 105.002(c)).  A party was not entitled
to a jury verdict on issues of "a specific term or condition of possession to the child" or a
conservator's rights or duties other than the issue of primary residence, but under former subsection
105.002(c)(3), the court was permitted to submit such issues to the jury, although under former
subsection 105.002(d) the jury's answer on those issues was "advisory only." See Act of
May&nbsp;8,&nbsp;1997, 75th Leg., R.S., ch. 180, § 1, 1997 Tex. Gen. Laws 1033, 1033-34.  In 2003, the
legislature amended subsection 105.002(c) and repealed subsection 105.002(d), but the amendments
to subsection 105.002(c) apply only to a suit filed on or after September 1, 2003.  See Act of
May&nbsp;27,&nbsp;2003, ch. 1036, § 2 (amending section 105.002(c)), § 22 (repealing section 105.002(d)),
§&nbsp;23(c) (changes to section 105.002(c) apply only to cases filed after effective date), 2003 Tex. Gen.
Laws at 2987-88, 2994. (10)  Therefore, although the Vaughns may not have been entitled to a jury
answer related to a "specific term or condition of possession of or access," the trial court had the
discretion to submit such issues to the jury.  Further, the trial court asked only whether it was in the
children's best interests to modify the agreed order and whether the parties' circumstances had
changed; it did not ask about a "specific term or condition of access to or possession of" the children. 
See Tex. Fam. Code Ann. §&nbsp;105.002(c)(2)(B) (West Supp. 2007).  The trial court did not abuse its
discretion in submitting those questions to the jury and using the jury's answers and
recommendations in an advisory capacity.  

	Based on this record, we hold that the trial court did not abuse its discretion in
modifying the agreed order to allow the Vaughns to have weekend visitations at their home with the
children every other month and for one week in the summer.  We overrule the Spencers' first,
second, and third issues.


Conservatorship of M.N.Y.

	We now turn to the Spencers' fourth issue, complaining that the trial court abused its
discretion by giving Mr. Yeats the right to determine M.N.Y.'s primary place of residence.  To
support modification of the 1997 conservatorship order, Mr. Yeats had the burden to prove that
modification was in M.N.Y.'s best interest and that "the circumstances of the child, a conservator,
or other party affected by the order [had] materially and substantially changed since the date of the
rendition of the order."  See Tex. Fam. Code Ann. § 156.101(1). (11)  The Spencers do not challenge
the jury's finding on the second element, changed circumstances since the 1997 order.  They
complain that the evidence is both legally and factually insufficient to support a finding that giving
that right to Mr. Yeats was in M.N.Y.'s best interest.  

	Initially, we note that under former section 105.002(c)(1) of the family code, a party
was entitled to a jury verdict on the issue of "the determination of the primary residence of the child"
and the trial court "may not contravene" the jury's verdict on that issue.  Act of May 8, 1997,
ch.&nbsp;180, § 1, 1997 Tex. Gen. Laws at 1034. (12)  Thus, unless there was legally insufficient evidence
to support the jury's determination that Mr. Yeats should be allowed to determine M.N.Y.'s primary
residence, the trial court could not have entered a judgment contravening the jury's decision.  See
Lenz v. Lenz, 79 S.W.3d 10, 20 (Tex. 2002); Harris v. Texas Dep't of Family &amp; Protective Servs.,
228 S.W.3d 819, 823 (Tex. App.--Austin 2007, no pet.); Brunson v. Brunson, 502 S.W.2d 578, 579
(Tex. Civ. App.--Fort Worth 1973, no writ). (13)  

	We therefore consider whether the evidence was legally sufficient to support the
jury's finding that it was in M.N.Y.'s best interest for Mr. Yeats to determine her primary residence. 
See Harris, 228 S.W.3d at 822-23.  Mr. Yeats sought the modification related to M.N.Y.'s primary
residence and so had the burden to establish by a preponderance of the evidence that it would be
harmful to M.N.Y. to maintain the status quo and that the change would be a positive improvement
for her.  See In re L.M.M., 2005 Tex. App. LEXIS 7191, at *25-26.  Because the Spencers did not
have the burden of proof, we ask whether there was any evidence to support the finding.  See Harris,
228 S.W.3d at 823.  We view the evidence in the light most favorable to the jury's finding, indulging
every reasonable inference that supports it, crediting favorable evidence if reasonable jurors could,
and disregarding contrary evidence unless reasonable jurors could not.  City of Keller v. Wilson,
168&nbsp;S.W.3d 802, 807, 821-22 (Tex. 2005); Harris, 228 S.W.3d at 823.  If reasonable people could
differ in their conclusions, we will not substitute our judgment for the jury's, and we must defer to
the jury's reasonable determinations of the credibility of the witnesses, the weight to be given the
testimony, and the resolution of evidentiary conflicts.  City of Keller, 168 S.W.3d at 819-20, 822;
Harris, 228 S.W.3d at 823. 

	Although Ms. Robison recommended that M.N.Y. remain with the Spencers because
M.N.Y. and S.N.S. have a close relationship, she also testified that if not for the relationship between
the sisters, she would recommend that M.N.Y. live primarily with Mr. Yeats.  There was testimony
that the Spencers were uncooperative with Ms. Robison, Mr. Yeats, and the Vaughns and that they
interfered with Mr. Yeats's visitation with M.N.Y., including trying to make M.N.Y. think that
Mr.&nbsp;Yeats was late for visits.  Ms. Robison and others believed that M.N.Y. was stressed and
depressed because the Spencers put M.N.Y. in the middle of their disputes with others.  There were
allegations that Mr. Spencer might have engaged in inappropriate behavior in the past, although both
Spencers strongly denied it. (14)  Mrs. Spencer admitted to signing a false affidavit related to M.N.Y.'s
vaccinations, which Mr. Yeats believed put M.N.Y.'s health at risk; the Spencers improperly used
"Spencer" as M.N.Y.'s last name in school registration and health insurance documents; and
Mr.&nbsp;Spencer pleaded no-contest to charges of insurance fraud.  The Spencers moved to Utah without
informing the Vaughns, with whom the Spencers had just signed a visitation agreement, they
threatened to move and not tell Mr. Yeats their new address if he told anyone where they were, and
they made it difficult for Mr. Yeats to see his daughter.  They moved back to Texas in 1999 or early
2000, but did not inform Mr. Yeats or the Vaughns of their address until about three years later.  In
letters to the Vaughns, the Spencers misstated the terms of the agreed order, improperly using what
they perceived as the Vaughns' failure to meet the order's requirements as grounds for "excluding"
the Vaughns from seeing the children as agreed.  Mr. Yeats testified that he had problems with the
Spencers related to M.N.Y.'s health insurance, that he worried the Spencers were not properly caring
for M.N.Y.'s health, and that he was sensitive to and wanted to help with M.N.Y.'s weight concerns
because he had faced similar issues himself.

	Having M.N.Y. live primarily with Mr. Yeats will result in the sisters living in
different households.  However, the relationship between the sisters, as important as it is, is not the
only factor that the jury could have considered.  See In re K.L.R., 162 S.W.3d 291, 306
(Tex.&nbsp;App.--Tyler 2005, no pet.) ("Split custody of two or more children of the same marriage is
a factor, among many, to consider in determining the best interest of a child.  Courts have
traditionally applied the policy of keeping siblings together in custody decisions only to children of
the same marriage." (citations omitted)).  The Spencers' behavior related to other adults, their
credibility or lack thereof, and their behavior in placing M.N.Y. squarely in the middle of their
disputes with Mr. Yeats and the Vaughns were all valid concerns for the jury in making their
determination about M.N.Y.'s primary residence.  Despite the recommendations of Ms. Robison and
Dr. Wilcox, we cannot hold that the jury's verdict is not supported by any evidence.  We overrule
the Spencers' fourth issue on appeal.


Attorney's fees

	Finally, the Spencers argue that the trial court abused its discretion by awarding
attorney's fees because the awards are not supported by competent evidence.  We disagree.

	"The award of attorney's fees in a suit affecting the parent-child relationship is within
the trial court's discretion."  Bruni v. Bruni, 924 S.W.2d 366, 368 (Tex. 1996); see Tex. Fam. Code
Ann. § 106.002(a) (West Supp. 2007) (in a suit affecting parent-child relationship, "the court may
render judgment for reasonable attorney's fees and expenses").  The determination of what is a
reasonable amount of attorney's fees is a fact question, and the reasonableness and necessity of the
fees must be supported by competent evidence.  In re T.L.K., 90 S.W.3d 833, 841
(Tex.&nbsp;App.--San&nbsp;Antonio 2002, no pet.); see Woollett v. Matyastik, 23 S.W.3d 48, 52-53
(Tex.&nbsp;App.--Austin 2000, pet. denied).  The parties may, however, agree to documentary evidence,
eliminating the need for live expert testimony.  See Lohmann v. Lohmann, 62 S.W.3d 875, 880-81
(Tex. App.--El Paso 2001, no pet.) (parties agreed to submit attorney's fees to court and that
attorneys' bills were fair and reasonable); Armstrong v. Steppes Apts., Ltd., 57 S.W.3d 37, 50
(Tex.&nbsp;App.--Fort Worth 2001, pet. denied) ("By agreement, the parties below submitted their
attorneys' fee evidence by affidavit.").

	The Spencers never complained about the sufficiency or form of the evidence
establishing the Vaughns' and Mr. Yeats's attorney's fees.  Mrs. Spencer was represented by counsel
at trial, and Mr. Spencer represented himself pro se.  After the parties had rested, the trial court held
a hearing outside the jury's hearing to discuss the jury charge and attorney's fees.  The court stated,
"Counsel informed the Court that they're submitting the attorneys' fees issue to the Court, and each
is making no argument.  And I take it that you, Mr. Spencer, dispute either the necessity or
reasonableness of Mr. Bell [the Vaughns' attorney] and Mr. Cheatham's [Mr. Yeats's attorney]
attorney's fees[.]" (15)  The record does not reflect that Mr. Spencer responded to the trial court to either
agree or disagree, much less that he clarified whether he challenged the fees' necessity or
reasonableness or both or that he obtained a ruling on his complaint.  Indeed, although Mr. Spencer
articulated several complaints related to the jury's charge during this hearing, he did not voice any
objections to the evidence related to attorney's fees or raise the issue later in a written motion,
including his motions for new trial. (16)  Mrs. Spencer's attorney agreed when the trial court asked,
"[I]n considering the issue of attorney's fees by the Court rather than to the jury, all you're asking
me to do is to consider the fees as represented by the various exhibits, and then determine both
reasonableness and necessity as to Mr. Bell and Mr. Cheatham; is that where we stand?"  The
Vaughns' attorney submitted detailed invoices showing that from March 2003 through September
2004, one month before trial, the Vaughns had incurred more than $73,000 in attorney's fees and had
paid $44,500.  Mr. Yeats's attorney submitted affidavits and detailed statements showing that
Mr.&nbsp;Yeats had incurred more than $139,000 in attorney's fees through late September 2004 and had
paid more than $63,000.  Mr. Spencer offered into evidence a bill by an attorney who assisted the
Spencers in an earlier mandamus proceeding.  He never, however, voiced a complaint about the
sufficiency of the Vaughns' or Mr. Yeats's evidence. 

	To preserve a complaint for our review, a party must timely raise his complaint before
the trial court, stating the grounds for his complaint "with sufficient specificity to make the trial court
aware of the complaint," and obtain a ruling from the trial court.  Tex. R. App. P. 33.1(a). 
Mrs.&nbsp;Spencer stipulated to the Vaughns' and Mr. Yeats's evidence of their attorney's fees, and
Mr.&nbsp;Spencer did not raise any complaint, much less one that can be considered specific, nor obtain
the trial court's ruling.  See id.  Had either of them done so, the trial court would have known not to
accept the attorneys' documents as the only evidence, and the Vaughns and Mr. Yeats could have
presented live expert testimony from their attorneys.  Because the Spencers never complained about
the form of the evidence supporting an attorney's fee award, either at the hearing or in a motion for
a new trial or other motion, the Spencers have waived any complaint related to the sufficiency of the
evidence supporting the trial court's awards.  See Reagan Nat'l Adver. of Austin, Inc. v. Capital
Outdoors, Inc., 96 S.W.3d 490, 497 (Tex. App.--Austin 2002, pet. granted, judgm't vacated w.r.m.);
L &amp; F Distribs. v. Cruz, 941 S.W.2d 274, 285-86 (Tex. App.--Corpus Christi 1996, writ denied). 
The evidence presented amounts to some evidence of the reasonableness and necessity of the parties'
attorney's fees.  Hall v. Hubco, Inc., No. 14-05-00073-CV, 2006 Tex. App. LEXIS 1037, *22-23
(Tex. App.--Houston [14th Dist.] Feb. 9, 2006, pet. denied); Jackson v. Barrera, 740 S.W.2d 67,
68-69 (Tex. App.--San Antonio 1987, no writ).  The trial court awarded the Vaughns and Mr. Yeats
lower sums than they had been billed.  We cannot hold that the trial court abused its discretion in
making its attorney's fees awards.  We overrule the Spencers' fifth issue on appeal.


Conclusion

	Having overruled the Spencers' issues on appeal, we affirm the trial court's orders.


					__________________________________________

					David Puryear,  Justice

Before Justices Patterson, Puryear and Waldrop

Affirmed

Filed:   March 6, 2008
1.   The 2005 amendments do not apply to this case.  See Act of May 27, 2005, 79th Leg., R.S.,
ch. 484, § 7, 2005 Tex. Gen. Laws 1345, 1346.  
2.   The agreed order states:


EACH PERSON . . . IS ORDERED TO NOTIFY EACH OTHER PARTY WITHIN
10 DAYS AFTER THE DATE OF ANY CHANGE . . . .  THE PARTY IS
ORDERED TO GIVE NOTICE OF AN INTENDED CHANGE . . . ON OR
BEFORE THE 60TH DAY BEFORE THE INTENDED CHANGE.  IF THE PARTY
DOES NOT KNOW OR COULD NOT HAVE KNOWN OF THE CHANGE IN
SUFFICIENT TIME TO PROVIDE 60-DAY NOTICE, THE PARTY IS ORDERED
TO GIVE NOTICE OF THE CHANGE ON OR BEFORE THE FIFTH DAY
AFTER THE DATE THAT THE PARTY KNOWS OF THE CHANGE.
3.   Mrs. Vaughn testified that she wrote a check shortly after the agreed order was signed and
gave it to Duncan Neblett, their attorney, believing he would transmit it to the Spencers.  In
June&nbsp;1999, Mrs. Vaughn wrote to Neblett, stating that she had sent him a check for $166, which she
realized should have been for $211, and that although she thought he would forward it to the
Spencers, it had not been cashed.  In March 2003, the Vaughns' new attorney, Henry Bell, wrote a
letter to the Spencers' attorney, explaining that Neblett failed to send the Vaughns' check to the
Spencers.  Bell enclosed a check for $211, but Mrs. Vaughn did not think it had been cashed.  
4.   In re V.L.K. concerned an order related to conservatorship, not grandparent visitation. 
24&nbsp;S.W.3d 338, 340 (Tex. 2000).  However, the reasoning applies with equal force to this
modification proceeding related to grandparent access.  See id. at 343 (court did not distinguish
between kinds of suits available under chapter 153 in concluding that chapter 153 presumptions do
not carry into chapter 156); In re M.N.G., 113 S.W.3d 27, 35-36 (Tex. App.--Fort Worth 2003,
no&nbsp;pet.) (parental presumption did not apply in modification proceeding by grandparent seeking
conservatorship of child against father, who was granted sole managing conservatorship in original
divorce proceeding).
5.   The Spencers cite to In re T.J.K., 62 S.W.3d 830 (Tex. App.--Texarkana 2001, no pet.),
to support their contention that they should be able to seek review of the agreed order under Troxel
v. Granville, 530 U.S. 57 (2000), in which the Supreme Court considered the constitutionality of
Washington's grandparent-visitation statute.  However, we believe that In re V.L.K. governs this
appeal, which concerns not an original grandparent visitation suit but instead the Spencers' petition
to modify the agreed order.  The T.J.K. court held that a father who entered into an agreed order
allowing grandparent visitation did not waive his right to complain about the grandparent-visitation
statute's constitutionality in a later modification proceeding.  62 S.W.3d at 831-33.  The court
ignored the fact that the father sought to challenge the statute through a petition to modify, however,
and placed no importance on the fact that the father agreed to the visitation order.  Id.  We believe
both issues are important.  See In re M.N.G., 113 S.W.3d at 33-36 (holding that "Troxel does not
support the trial court's placing of the burden on Grandmother to show unfitness of Father or harm
or potential harm to the child as predicates for modification" and declining to accept "Father's
argument, which flies in the face of V.L.K., that the parental presumption must apply in the
modification context"); In re M.A.S., No. 04-06-00629-CV, 2007 Tex. App. LEXIS 7436, *4
(Tex.&nbsp;App.--San Antonio Sept. 12, 2007, no pet.) (mem. op.) (trial court erred in applying parental
presumption in modification proceeding related to grandmother's possessory rights; "The correct
standard is contained in section 156.101, which places the burden on the person seeking modification
of an existing custody order to show that modification would be in the best interest of the child and
that the circumstances of at least one of the parties affected by the order have materially and
substantially changed since the order took effect."); see also In re C.A.M.M., No. 14-06-00279-CV,
2007 Tex. App. LEXIS 8585, *10-12 (Tex. App.--Houston [14th Dist.] Oct. 30, 2007, no pet. h.)
("the ramifications of the modification statutes can be far-reaching and troubling, but any changes
to the statutory scheme must come from the Legislature").
6.   See In re J.R.D., 169 S.W.3d 740, 746-52 (Tex. App.--Austin 2005, pet. denied) (Puryear,
J., concurring) (arguing that standards of review applied to conservatorship issues are inconsistent
with constitutional nature of parental rights and for application of clear-and-convincing standard). 
7.   Even if we were to apply Troxel, we would hold that former section 153.433 is not facially
unconstitutional, see Lilley v. Lilley, 43 S.W.3d 703, 713 (Tex. App.--Austin 2001, no pet.);
Op.&nbsp;Tex. Att'y Gen. No. GA-0260 (2004), and the record does not reflect that the trial court failed
to consider and give "special weight" to the Spencers' wishes for the children.  See Troxel, 530 U.S.
at 69; In re C.P.J., 129 S.W.3d 573, 578-79 (Tex. App.--Dallas 2003, pet. denied).  The trial court
heard from the Spencers, who argued against visitation after having agreed earlier that visitation was
appropriate, and from Mr. Yeats, the Vaughns, and other witnesses, all of whom testified it was in
the children's best interests to have visitation with the Vaughns and the children's extended family. 
Further, the court specifically found that the Spencers' testimony was "not believable."  Unlike
Troxel, the Spencers wish to cut off the Vaughns from all contact with the girls.  See 530 U.S. at 71. 
Finally, the Spencers themselves conceded that it was in the children's best interests to have contact
with the Vaughns when they entered into the agreed order in 1998.  The trial court did not violate
the Spencers' constitutional rights by determining that the Spencers were not currently acting in the
children's best interest and that withholding visitation with the Vaughns would harm the girls' best
interests.  See In re C.P.J., 129 S.W.3d at 578-79 (trial court did not deny parent due process or
disregard his parental rights where parent agreed to earlier grandparent visitation order and sought
not to cut off visitation, but to reduce it; trial court's order attempted to resolve conflicts, and
appellate court concluded that trial court "was able to craft its decision by according 'at least some
special weight to the parent's own determination'").
8.   Before being amended in 2005, subchapter H, which was titled, "Rights of Grandparent,"
seemed to use "access" and "possession" interchangeably.  Section 153.432, titled, "Suit for Access,"
allowed a grandparent to sue for "access" by filing an original suit or a petition to modify.  Act of
April 6, 1995, 74th Leg., R.S., ch. 20, § 1, 1995 Tex. Gen. Law 113, 157.  Section 153.433, titled,
"Possession of and Access to Grandchild," provided for grandparent "access" if certain conditions
were met.  Act of May 26, 1997, 75th Leg., R.S., ch. 1397, § 1, 1997 Tex. Gen. Laws 5250, 5250-51. 
Finally, section 153.434, titled, "Limitation on Right to Request Access," barred grandparents from
requesting "possession of or access to" their grandchildren under certain circumstances.  Act of
May&nbsp;30, 1999, 76th Leg., R.S., ch. 1390, § 13, 1999 Tex. Gen. Laws 4696, 4699.
9.   We note that in the agreed order, the Spencers agreed that the Vaughns could have
possession of the girls away from the Spencers' home. The agreed order provided that for six months
after the signing of the order, the Vaughns were to have six hours of "access" to M.N.Y. and S.N.S.
each month.  The first three hours of their time with M.N.Y. and all of their time with S.N.S. were
to occur at the Spencers' home, but the other three hours with M.N.Y. were not limited to the
Spencers' house.  After the first six months, the Vaughns were allowed to have "access" to both girls
for forty-eight hour visits twice a year as well as day-long visits once a month; those visits were not
required to be exercised at the Spencers' home.  The agreed order also refers to the Vaughns as
having "possession" of the children during their designated visitation times and includes provisions
governing the Vaughns' return of the children to the Spencers.
10.   The current version of section 105.002 provides that except for suits for adoption or to
adjudicate parentage, a party may demand a jury trial and is entitled to a jury verdict, which the trial
court may not contravene, on the appointment of a sole managing conservator, joint managing
conservators, or a possessory conservator; which joint managing conservator should have the right
to designate the child's primary residence; and whether to impose a geographic restriction on the
joint managing conservators.  Tex. Fam. Code Ann. §&nbsp;105.002(a), (b), (c)(1) (West Supp. 2007). 
The trial court may not submit to the jury questions on the issues of child support, "a specific term
or condition of possession of or access to the child," or a conservator's rights or duties other than
which conservator may designate the child's primary residence.  Id. § 105.002(c)(2).
11.   Section 156.101 also provides that a conservatorship order may be modified if it is in the
child's best interest and:  (1) the child is at least twelve years old and has filed with the court a
statement naming the person the child prefers to have the exclusive right to determine the child's
primary residence, or (2) the conservator with the exclusive right to determine the child's primary
residence voluntarily relinquishes the primary care and possession of the child to another for at least
six months.  See id. § 156.101(2), (3) (West Supp. 2007).
12.   The provision governing a party's entitlement to a jury verdict on which joint managing
conservator has the right to designate a child's primary residence remains substantially the same
under the 2003 amendments.  See id. § 105.002(c)(1)(D).
13.   We disagree with Corrales v. Department of Family &amp; Protective Services, in which our
sister court reviewed a trial court's refusal to contravene a jury's verdict and held that "the
appropriate challenge must be directed to a traditional sufficiency review:  Is the evidence legally
and factually sufficient to support the jury's finding that appointing the Department as the children's
managing conservator was in their best interest?"  155 S.W.3d 478, 488 (Tex. App.--El Paso 2004,
no pet.).  As in other civil cases involving a trial court's granting of a judgment notwithstanding the
verdict, we believe the inquiry must be limited to whether there was legally sufficient evidence.  See
Mancorp, Inc. v. Culpepper, 802 S.W.2d 226, 227 (Tex. 1990) ("In order to uphold a trial court's
judgment notwithstanding the verdict, an appellate court must determine that no evidence supports
the jury's findings."); John Paul Mitchell Sys. v. Randalls Food Mkts., Inc., 17 S.W.3d 721, 728
(Tex. App.--Austin 2000, pet. denied) ("We will uphold a trial court's judgment notwithstanding
the verdict only if we determine that there is no evidence to support the jury's findings.").  To go
further and inquire into factual sufficiency would render meaningless section 105.002's provision
barring a trial court from contravening a jury's verdict on certain issues related to a child's care.  See
Lenz v. Lenz, 79 S.W.3d 10, 20 (Tex. 2002) ("because we have concluded that there is legally
sufficient evidence to support the jury's verdict in this case, we further conclude that the trial court
improperly contravened the jury's verdict").  But see In re J.A.J., No. 07-0511, 2007 Tex. LEXIS
978, *13 n.5 (Tex. Nov. 2, 2007) (citing Corrales and stating that "[i]n a jury trial, a trial court may
not render an order in contravention of the jury's findings.  Tex. Fam. Code Ann. §
105.002(c)(1)(A).  Jury findings underlying a conservatorship appointment are subject to ordinary
legal and factual sufficiency review.").
14.   We disagree with the Spencers that "[m]ere allegations of abuse are no evidence of abuse,
and the jury was not entitled to give them any weight."  Certainly the allegations made in this case
would not be "clear and convincing" evidence that would support a termination of parental rights. 
See In re S.A.P., 169 S.W.3d 685, 704-05 (Tex. App.--Waco 2005, no pet.).  However, it was for
the jury to consider the credibility of the witnesses putting forth and denying those allegations and
determine whether to give the allegations any weight at all.  See City of Keller v. Wilson, 168 S.W.3d
802, 819, 821-22 (Tex. 2005); In re S.A.P., 169 S.W.3d at 704-05 ("sensational and unproven
allegation" was "scant evidence" that father had endangered child).  
15.   The reporter's record does not include punctuation at the end of the trial court's statement,
making it unclear whether this was a statement or a question.  In its findings of fact and conclusions
of law, the court stated that the parties "agreed to submit their requests for attorneys fees to the
Court" and that the Spencers "agreed in open court that the issues of contempt and attorneys fees be
heard by the Court."
16.   The Spencers filed a total of three motions for new trial-one by Mrs. Spencer through her
attorney and two by Mr. Spencer.  The Spencers both stated without explanation or argument that
"[t]he damages awarded by the jury against Petitioner are excessive."  In its answers, the jury found
that $1000 would compensate Mr. Yeats for the Spencers' concealment of M.N.Y.


